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                          UNITED STATES DISTRICT COURT
                                                                                        JS-6
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL


Case No.:       CV 17-06041-AB (KSx)                           Date:   August 28, 2017


Title:    Showtime Networks Inc. v. John Doe 1 et al


 Present: The Honorable       ANDRÉ BIROTTE JR., United States District Judge
                 Carla Badirian                                  Chia Mei Jui
                 Deputy Clerk                                   Court Reporter

      Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
                Dennis L Wilson                                None Appearing


 Proceedings:          ORDER TO SHOW CAUSE WHY A PERMANENT
                       INJUNCTION SHOULD NOT ISSUE

         Court and counsel confer.

       Plaintiff moves to dismiss this action without prejudice. For the reasons stated on
the record, the Court GRANTS the motion.

         IT IS SO ORDERED.




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CV-90 (12/02)                        CIVIL MINUTES - GENERAL            Initials of Deputy Clerk CB
